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FOR THE NORTHERN DISTRICT Ol*` TEXAS |v,\AR l A 20`8

 

 

 

 

FORT WORTH DIVISION
UNITED STATES OF AMERICA C{;;RK» U~S~ DlS‘l`RlCT COURT g ,
Dcputy »
v. No. 4:18-1\/1 - 195

KYLE EDWARD DAQUILLA (Ol)
CRIMINAL COMPLAINT

Possession with Intent to Distribute a Controlled Substance
(Violation of 2l U.S.C. § 84l(a)(l) and (b)(l)(B))

On or about March l, 2018, in the Fort Worth Division of the Northern District of
Texas, defendant Kyle Edward Daquilla did knowingly and intentionally possess with
intent to distribute 50 grams or more of a mixture and substance containing a detectable
amount of methamphetamine, a Schedule ll controlled substance, in violation of 21
U.S.C. § 84l(a)(l) and (b)(l)(B).

lntroduction

l, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

l. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF).
2. I have participated in and am familiar with this investigation through interviews,

surveillance, and police reports.

3. This affidavit is submitted in support of an application for a criminal complaint.
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4. On March l, 2018, Texas Department of Public Safety (DPS) Criminal

Investigations Division executed a search warrant on room 220 at the Extended Stay

American Hotel, located at 5831 Overton Ridge Boulevard in Fort Worth, Texas.

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Kyle Edward Daquilla, a felon, had previously occupied the hotel room. DPS recovered a
firearm and over 500 grams of methamphetamine, and an amount of cocaine and
marijuana Daquilla admitted to possessing the firearm and drugs.
5. Prior to the execution of the search warrant, DPS saw Daquilla exit his hotel room
and enter a blue Infinity vehicle with New Mexico license plates. DPS knew Daquilla
was a felon. DPS conducted a traffic stop, and detained Daquilla. During the traffic stop,
DPS observed a holster to a handgun in the front seat of the vehicle. DPS searched the
vehicle and located a firearm in the glove box. Daquilla also possessed two key cards that
were later used to gain entry into Daquilla’s hotel room. Daquilla admitted to possessing
the firearm.

Based on the foregoing, I believe Kyle Edward Daquilla has violated 21 U.S.C. §

84l(a)(l) and (b)(l)(B).

 

 

Ch Smith
Special Agent

Bureau of Alcohol, Tobacco, Firearms
and Explosives

swoRN AND sUBscRIBED before me at Z' 0_____Zam@ this /i'm- 'm-day cf

March, 2018, in Fort Worth, Texas.
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HAL R RAY, JR '
United States Magistrate Judge

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